 Case 4:08-cr-00315-RSB-CLR Document 1486 Filed 05/14/14 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

UNITED STATES OF AMERICA

kW                                         CASE NO. CR408-315-14

DEMETRIUS MARCELLUS GREEN,
a/k/a DD,

     Defendant.


                             ORDER

     Before the Court is Defendant Demetrius Marcellus

Green's Motion for Reduction of Sentence Pursuant to 18

U.S.C. § 3582(c) (2). (Doc. 1468.) In his motion,

Defendant requests that the Court reduce his 2010 sentence

based on the most recent amendment to the sentencing

guidelines—Amendment 750. (Id. at 2-3.) The Government

has responded in opposition. (Doc. 1469.)

     Amendment 750, which can be applied retroactively via

18 U.S.C. § 3582(c) (2), lowers the applicable guideline

range for certain quantities of drugs. In this case,

however, Defendant is not simply arguing that Amendment 750

applies retroactively to lower the sentencing range for

Defendant's 2010 conviction on one count of conspiracy to

possess with intent to distribute, and to distribute,

cocaine hydrochloride. Indeed, Amendment 750 does not

result in a lower guideline range for Defendant based on
    Case 4:08-cr-00315-RSB-CLR Document 1486 Filed 05/14/14 Page 2 of 3




the quantity of drugs the Court attributed to him at his

sentencing hearing. Rather, Defendant contends that the

Court should revisit that drug quantity, find that

Defendant be attributed with a lower amount, apply this

quantity to the amended guidelines, and reduce Defendant's

sentence accordingly. (Doc. 1468 at 2-3.)

        When appealing his 2010 sentence to the Eleventh

Circuit Court of Appeals, Defendant argued that this Court

incorrectly overestimated the quantity of drugs

attributable to him for purposes of sentencing. United

States v. Green, 405 F. App'x 402, 403 (11th Cir. 2010).

However, the Eleventh Circuit somewhat sidestepped

Defendant's argument concerning that drug quantity,

concluding that any error by this Court would have been

harmless because even the most conservative estimates would

not have altered Defendant's guideline sentence.' Id.

While true in 2010, the presence of Amendment 750 may

impact the accuracy of the Eleventh Circuit's conclusion.

In other words, any error by this Court in calculating the


1
  Defendant conveniently ignores the Eleventh Circuit's
rejection of his argument that this Court's reliance on a
witness's drug quantity estimates was unreliable. Green,
405 F. App'x at 403 ("We further reject Green's suggestion
that [the witnesses's] varying estimates rendered him
unreliable.") . Regardless, the Court will focus on the
Eleventh Circuit's conclusion that any error was harmless
for the purpose of ruling on Defendant's motion.

                                     2
 Case 4:08-cr-00315-RSB-CLR Document 1486 Filed 05/14/14 Page 3 of 3




drug quantity may no longer be harmless under Amendment

750. Therefore, Defendant seeks to have this Court revisit

its calculation of drug quantity in the context of a motion

to reduce sentence under § 3582(c) (2).

     The problem with Defendant's argument is that this

Court lacks the authority to grant the relief he seeks. In

the Eleventh Circuit, it is clear that sentencing courts

may not reconsider the quantity of drugs attributed to a

Defendant in the context of a motion for reduced sentence

under § 3582(c) (2). United States       V.   Dewitt, 352 F. App'x

348, 351 (11th Cir. 2009) ("[A] § 3582 proceeding does not

authorize a court to reconsider original sentencing

determinations.") (citing United States v. Moreno, 421 F.3d

1217, 1220 (11th Cir. 2005) (holding that, with the

exception of the amended guideline range, "all original

sentencing determinations remain unchanged")) . However,

that is precisely what Defendant seeks with his § 3582

motion. Accordingly, Defendant's motion must be DENIED.

     SO ORDERED this     ID- day of May 2014.


                                  WILLIAM T. MOORE, JR/A
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




                                  3
